Case 2:03-cv-02714-.]DB-tmp Document 77 Filed 08/31/05 Page 1 of 2 PagelD 89

 

 

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`51'.1d .¢'§' ,,\! ;-_-Lj” if_"‘
LoulsE AFFLis, JuDGMENT IN A clvli_ cAsE j
Plaintiff,
v.
BAPTlsT MEMoRlAL HosPlTAL, cASE No: 2:03-2714-5

dlbla BAPTIST MEMOR|AL HOSP|TAL
- COLL|ERV|LLE,

Defendant.

 

This action came on for trial before the Court and a jury on August 29, 2005, the
Honorab|e J. Danie| Breen, U.S. District Judge, presiding;

At the conclusion of plaintiff’s proof, the Court concluded that, when the facts are
viewed in the light most favorable to plaintiff, no reasonable jury could return a verdict
against the defendant, and granted defendant's motion forjudgment as a matter of law;

|T |S ORDERED AND ADJUDGED thatjudgment is entered in favor of defendant,
Baptist lV|emoria| i-lospital, d/b/a Baptist l\/lemoria| Hospital - Collierville, and that plaintiffl
Louise Aff|is, take nothing, and that the action is hereby dismissed on the merits.

 

APPRovED:
J. o NiEL BREEN \
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Date Clerk of Court

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(By) Deputy Cl§rk
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This notice confirms a copy of the document docketed as number 77 in
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

